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 9   Attorneys for Plaintiff WESTERN WATERSHEDS PROJECT
10
11                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW MEXICO
12
13
     WESTERN WATERSHEDS PROJECT,                )
14                                              )        Civ. No.
                   Plaintiff                    )
15                                              )        COMPLAINT
16   v.                                         )
                                                )
17   TRAVIS MOSELEY, in his official            )
     capacity as Supervisor of the Lincoln      )
18
     National Forest; and                       )
19                                              )
     UNITED STATES FOREST SERVICE               )
20                                              )
                                                )
21
     Defendants.                                )
22                                              )

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24



                                      COMPLAINT--1
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 1
 2                                        INTRODUCTION
 3
     1.      This is an action under the Freedom of Information Act (“FOIA”),
 4
     5 U.S.C. § 552 et seq., to compel the Defendants Travis Moseley and the U.S. Forest
 5
     Service to permit representatives of the Plaintiff, Western Watersheds Project to
 6
 7   inspect non-exempt agency records at the Defendant's offices without charge.

 8           2.    Plaintiff Western Watersheds Project has requested permission from the
 9
     U.S. Forest Service to inspect copies of “Allotment Management Plans” at the offices
10
     of the Lincoln National Forest.
11
12           3.    Allotment Management Plans are short documents that provide specific

13   grazing instructions for each livestock grazing area on the Lincoln National Forest.

14           4.    The Forest Service has informed Western Watersheds Project that there
15
     will be a fee to inspect the records because a Forest Service staff person must monitor
16
     any member of the public who inspects agency records. According to the Forest
17
18   Service, the fee will vary depending on the salary of the Forest Service official

19   assigned to monitor the Plaintiff during the records inspection, but it will be around
20
     $17.00 to $21.00 per hour.
21
             5.    The Forest Service FOIA regulations do not permit the Forest Service
22
     to charge requesters a fee for inspecting public records at Forest Service Offices.
23
24



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            6.     Specifically, the Forest Service FOIA regulations state: "Fees may not
 1
 2   be charged for time spent by an agency employee in resolving legal or policy issues,

 3   or in monitoring a requester's inspection of agency records." 7 CFR Appendix A to
 4
     Subpart A, Part 1, Section 3 (c).
 5
            7.     When Western Watersheds Project contested the fee and told the Forest
 6
     Service that Western Watersheds Project would not pay to inspect the records, the
 7
 8   Forest Service closed the FOIA request.

 9          8.     Western Watersheds Project counsel requested administrative appeal
10
     rights from the Forest Service, but was denied them.
11
                                JURISDICTION AND VENUE
12
13          9.     This Court has jurisdiction over this action pursuant to 5 U.S.C. §

14   552(a)(4)(B), as well as under 28 U.S.C. § 1331 because this action arises under the
15
     FOIA, the Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., and the Equal Access
16
     to Justice Act, 28 U.S.C. § 2412 et seq.
17
     10.    Venue is proper in this Court under 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C. §
18
19   1391 because the Defendant's State Office is in this district, and a substantial part of

20   the events or omissions giving rise to the claims herein occurred within this district.
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22
23
24



                                         COMPLAINT--3
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                                            PARTIES
 1
 2          11.    Plaintiff Western Watersheds Project is a non-profit conservation

 3   organization based in Hailey, Idaho, with offices throughout the West in California,
 4
     Oregon, Wyoming, and Arizona. Western Watersheds Project is dedicated to
 5
     protecting the water quality, soil productivity, wildlife habitat, and archaeological
 6
 7   resources on Western rangelands, including the rangelands managed by the Lincoln

 8   National Forest in New Mexico.
 9
            12.    Defendant U.S. Forest Service is an agency of the U.S. Department of
10
     Agriculture, and has possession and control over the records Western Watersheds
11
     Project seeks to inspect. As a federal agency, the U.S. Forest Service is obligated to
12
13   comply with its statutory duties under the FOIA.

14                      THE FREEDOM OF INFORMATION ACT
15
            13.    The FOIA was enacted “to establish a general philosophy of full agency
16
     disclosure unless information is exempted under clearly delineated statutory
17
18   language.” S. Rep. No. 813, at 3 (1st Sess. 1965). The Supreme Court has affirmed

19   that “this philosophy, put into practice, would help 'ensure an informed citizenry,
20
     vital to the functioning of a democratic society.'” Dep't of Justice v. Tax Analysts,
21
     492 U.S. 136, 142 (1989) (quoting NLRB v. Robbins Tire & Rubber Co, 437 U.S.
22
     214, 242 (1978)). “The basic purpose” of FOIA is “to open agency action to the light
23
24



                                        COMPLAINT--4
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     of public scrutiny.” Dep't of Justice v. Reporters Comm. for Freedom of the Press,
 1
 2   489 U.S. 749, 772 (1989) (quoting Dep't of the Air Force v. Rose, 425 U.S. 352, 372

 3   (1976)).
 4
            14.    Under the FOIA, a member of the public may request to inspect any
 5
     agency record. If the record does not fall under an exemption and if the requester has
 6
     reasonably described the record, the agency must make the record “promptly
 7
 8   available” for inspection. 5 U.S.C. § 552 (a)(3)(A).

 9          15.    Although the Forest Service may charge, in some circumstances, fees
10
     for searching for the records, duplicating the records, or reviewing the records for any
11
     exempt material, it may not charge a requester a fee for monitoring the requester
12
13   while the requester inspects the record at the Forest Service's offices. 7 CFR

14   Appendix A to Subpart A, Part 1, Section 3 (c) ("Fees may not be charged for time
15   spent by an agency employee in resolving legal or policy issues, or in monitoring a
16
     requester's inspection of agency records.")
17
18
19                                STATEMENT OF FACTS

20          16.    On July 23, 2014, Western Watersheds Project, through its attorney,
21
     submitted a FOIA request for “Complete copies of the most current Allotment
22
23
24



                                       COMPLAINT--5
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     Management Plans, or “AMPs,” for each [livestock grazing] allotment on the Lincoln
 1
 2   National Forest.” Attachment 1.1

 3            17.   The request letter asked for the material on disk and stated that if the
 4
     material was already available on the Forest Service's Website, a simple link to the
 5
     material would suffice.
 6
              18.   Travis Moseley, the Forest Supervisor for the Lincoln National Forest,
 7
 8   responded by letter dated July 28, 2014. He stated that, pursuant to 7 CFR Subtitle

 9   A, Part 1, Supart A, Appendix A, there would be an estimated fee of $609.10 to
10
     respond to the request. A document titled “ESTIMATED FEE CALCULATION”
11
     was attached to the letter, showing “Total Amount Due” to be $609.10. Attachment
12
13   2.

14            19.   On August 1, 2014, Western Watersheds counsel sought clarification of
15   the $609.10 fee via an electronic-mail message to the Lincoln National Forest's FOIA
16
     Coordinator, Patti Turpin. Attachment 3.
17
              20.   Ms. Turpin responded via electronic-mail that same day, saying, “The
18
19   estimate captures 12 hours of range management specialists (one per ranger district)

20   to visit each allotment administrative folder and scan the allotment management plan;
21
22
         For ease of reference, all correspondence referred to in this Complaint is attached
          1

23   herein, and referred to as “Attachment X.”
24



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     and 4 hours for me, as the FOIA Center liaison, to prepare the records and
 1
 2   correspondence for the Forest Supervisor's review and release.” Attachment 4.

 3          21.     Ms. Turpin also stated that there were 2,300 pages of responsive
 4
     records. Id.
 5
            22.     Later on August 1st, Western Watersheds counsel responded to Ms.
 6
     Turpin by electronic-mail, writing, “I did not realize there were this many pages.
 7
 8   Please tell me the cost if I have someone come to the Albuquerque office and bring

 9   their own scanner. Thank you.” Attachment 5.
10
            23.     On August 4, 2014, Ms. Turpin responded as follows: “With you
11
     having someone scan releasable records at each administrative office, it is estimated
12
13   that costs associated with processing your FOIA request are approximately $400.

14   Prior to a scheduled appointment and public review/scanning at each administrative
15   site, I am required to sanitize (examine each responsive record for personally
16
     identifiable information (PII) that is not readily available via State tax records)
17
     responsive records; and any document containing PII cannot be scanned/released
18
19   from the Lincoln National Forest; it has to be rerouted to Southwestern Regional

20   Office in Albuquerque. Also, a Forest Service employee must accompany the person
21
     scanning documents the entire time they are present (as noted on the attached cost
22
     estimate as 'direct cost').” Attachment 6.
23
24



                                        COMPLAINT--7
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            24.     Ms. Turpin attached a document titled “Cost Estimate” to her email,
 1
 2   which showed a fee of $407.72 for Western Watersheds Project personnel to

 3   personally scan the documents at three different Forest Service offices. Id.
 4
            25.     On August 5, 2014, Western Watersheds Project counsel sent an
 5
     electronic-mail to Ms. Turpin asking, “If we were only to look at the records in the
 6
     offices, and take notes but not make any copies or scans, would we still have to pay
 7
 8   the fees you have outlined in cost estimate 2?” Attachment 7.

 9          26.     Ms. Turpin responded that same day with “Cost Estimate 3,” which
10
     showed the inspection of the documents would cost Western Watersheds Project
11
     $111.30 assuming the viewing took no more than two hours at each of the three
12
13   Ranger Districts where the records were located. Attachment 8.

14          27.     In this August 5, 2014 electronic-mail message she wrote: “Please
15   provide, in writing, a statement of your willingness to pay the estimated $609.10
16
     (cost estimate 1 - Forest Service FOIA processing) or $111.30 (cost estimate 3 -
17
     viewing or self-duplication), and to schedule a visit at each Ranger Station by August
18
19   11.” Id.

20          28.     She also stated, “If I have not heard from you by August 11, in writing,
21
     I will assume you no longer wish to proceed with your FOIA request and will close
22
     the file at that time.” Id.
23
24



                                        COMPLAINT--8
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            29.     On August 6, 2014, Western Watersheds counsel wrote to say his client
 1
 2   would not pay to inspect public records, and asked for administrative appeal rights so

 3   that the Forest's decision could be appealed to a higher authority in the Forest
 4
     Service. Attachment 9.
 5
            30.     By a letter of August 6, 2014, Lincoln National Forest Supervisor
 6
     Travis Moseley notified Western Watersheds Project counsel that since they were not
 7
 8   willing to pay, the case would be closed. He stated that “This is my final

 9   determination to your FOIA request dated July 23, 2014.” Attachment 10.
10
            31.     No appeal rights were granted.
11
                                FIRST CLAIM FOR RELIEF
12
13                FOIA—Improper Assessment of Fees of July 23, 2014 Request

14          32.     The Forest Service has improperly assessed fees in the request because
15
     it may not charge fees for the simple inspection of otherwise releasable documents.
16
            33.     The applicable Forest Service regulation is 7 CFR Appendix A to
17
     Subpart A, Part 1, Section 3 (c), which states, "Fees may not be charged for time
18
19   spent by an agency employee in resolving legal or policy issues, or in monitoring a

20   requester's inspection of agency records."
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                                        COMPLAINT--9
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            34.     Here, Western Watersheds Project was to be charged for simply coming
 1
 2   to the office and inspecting records that the Forest Service had agreed to review and

 3   release.
 4
            35.     Plaintiff has exhausted its administrative remedies.
 5
                                    REQUEST FOR RELIEF
 6
 7          WHEREFORE, Plaintiff Western Watersheds Project requests this Court:

 8          A.      Declare that Defendants' assessment of fees in Plaintiff Western
 9
     Watersheds Project's July 2014 FOIA request was unlawful;
10
            B.      Order Defendants to promptly release the documents for inspection
11
     without fee;
12
13          C.      Award Western Watersheds Project the reasonable costs, litigation

14   expenses, and attorney's fees incurred in prosecuting this civil action, under FOIA, 5
15
     U.S.C. 552(a)(4)(E), the Equal Access to Justice Act, 28 U.S.C. § 2412(d)(1)(B), and
16
     all other applicable authorities;
17
            D.      Grant such other and further relief as the Court deems just and proper.
18
19          Dated: August 18, 2014.

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                                         COMPLAINT--10
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 3
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 5
 6
 7
 8       Respectfully Submitted this 18th of August, 2014.

 9
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                                  COMPLAINT--11
